           Case 5:24-cr-50061-TLB Document 66       Filed 03/10/25 Page 1 of 1 PageID #: 173
                               IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF ARKANSAS
                                       FAYETTEVILLE    DIVISION

                                                       MINUTES


USA                                                       JUDGE: Christy Comstock, U. S. Magistrate Judge
PLAINTIFF                                                                 Roxana Guerrero, ECRO
                                                          REPORTER:
  ATTY: David Harris, AUSA
                                                                      Roxana Guerrero
                                                          CLERK:

Marquesha Young                                           CASE NO. 5:24-cr-50061-004
DEFENDANT
  ATTY: Ken Osborne, CJA
                                                            DATE:       March 10, 2025


                             ACTION: Detention Hearing

 TIME                                                       MINUTES


11:00 am    Convene- Room 210
            Court sets purpose of hearing
            Testimony on behalf of Government
            Witness identified & sworn
            G1.) Det. Parrish Diaz
            Government rests
            Testimony on behalf of Defendant
            D1.) Allishia Lacy (Young)
            Closing arguments by Government
            Closing arguments by Defense
            Address by Court; detail factors weighed in decision; presumption over come.
            Court reviews conditions of release
            Defendant released on $5,000 unsecured bond with conditions set forth in the Order of Conditions of Release
11:52 am    Adjourn
